
{¶ 15} 5. Send all notices required by this order by certified mail with a return address where communications may thereafter be directed to respondent;
*1282{¶ 16} 6. File with the clerk of this court and disciplinary counsel of the Supreme Court an affidavit showing compliance with this order, showing proof of service of the notices required herein, and setting forth the address where respondent may receive communications; and
{¶ 17} 7. Retain and maintain a record of the various steps taken by respondent pursuant to this order.
{¶ 18} It is further ordered that respondent shall keep the clerk, the Warren County Bar Association, and disciplinary counsel advised of any change of address where respondent may receive communications.
{¶ 19} It is further ordered that all documents filed with this court in this case shall meet the filing requirements set forth in the Rules of Practice of the Supreme Court of Ohio, including requirements as to form, number, and timeliness of filings. All case documents are subject to Sup.R. 44 through 47, which govern access to court records.
{¶ 20} It is further ordered that service shall be deemed made on respondent by sending this order, and all other orders in this case, by certified mail to the most recent address respondent has given to the Office of Attorney Services.
{¶ 21} It is further ordered that the clerk of this court issue certified copies of this order as provided for in Gov.Bar R. V(17)(D)(1) and that publication be made as provided for in Gov.Bar R. V(17)(D)(2).
O'Connor, C.J., and O'Donnell, Fischer, and DeGenaro, JJ., concur.
Kennedy, French, and DeWine, JJ., dissent.
